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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
 IN RE:
 3M COMBAT ARMS
 EARPLUG PRODUCTS LIABILITY                          Case No. 3:19-MD-02885
 LITIGATION,
                                                     Judge M. Casey Rodgers
                                                     Magistrate Judge Hope T. Cannon
 This Document Relates to:
 All Cases




         STIPULATION AND JOINT REQUEST TO VACATE
                         DECEMBER 22, 2022 ORDER
      The parties to the above-captioned Litigation (the “Parties”) hereby agree and

stipulate as follows:

      WHEREAS,          Plaintiffs   asserted   claims   against   Defendants   Aearo

Technologies LLC, 3M Occupational Safety LLC, Aearo Holding LLC, Aearo

Intermediate LLC, and Aearo LLC (collectively, the “Aearo Defendants”), and

Defendant 3M Company (collectively, “Defendants”) throughout the Litigation;

      WHEREAS, on July 26, 2022, the Aearo Defendants and two of their affiliates

filed voluntary petitions for relief under chapter 11 of title 11 of the United States

Code in the United States Bankruptcy Court for the Southern District of Indiana (the

“Bankruptcy Court”), thereby commencing the bankruptcy proceedings styled In re

Aearo Techs. LLC, Case No. 22-02890-JJG-11 (Bankr. S.D. Ind.);
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      WHEREAS, Plaintiffs’ claims against the Aearo Defendants were

automatically stayed during the pendency of the Aearo Defendants’ bankruptcy

proceedings;

      WHEREAS, on October 4, 2022, Plaintiffs’ Leadership filed an Omnibus

Motion for Summary Judgment on 3M Company’s Successor Liability for CAEv2

Injuries (the “Successor Liability Motion”), requesting that Defendant 3M Company

be prevented “from asserting any variation of a successor liability defense” in the

Litigation;

      WHEREAS, Defendant 3M Company opposed the Successor Liability

Motion;

      WHEREAS, on December 22, 2022, the Court issued an Order whereby

Defendant 3M Company was “precluded from attempting to avoid any portion of its

alleged liability for the CAEv2 claims in this litigation by shifting blame to the Aearo

defendants,” applicable to cases in the MDL (the “Successor Liability Order”);

      WHEREAS, on January 3, 2023, Defendant 3M Company filed a Petition for

Permission to Appeal in a matter styled 3M Company v. Christopher Aaby, et al. in

the United States Court of Appeals for the Eleventh Circuit, Appeal Number 23-

90001-A, seeking reversal of the Successor Liability Order;

      WHEREAS, Plaintiffs filed a Response to Defendant 3M Company’s Petition

requesting the Court of Appeals review and affirm the Successor Liability Order;
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      WHEREAS, the Successor Liability Order did not address the Aearo

Defendants’ own potential liability in the Litigation or Plaintiffs’ claims against the

Aearo Defendants in this Litigation, which were subject to the automatic stay during

the pendency of the Aearo Defendants’ bankruptcy proceedings;

      WHEREAS, on June 9, 2023, the Bankruptcy Court entered an order

dismissing the Aearo Defendants’ bankruptcy proceedings (the “Dismissal Order”),

at which time the automatic stay terminated;

      WHEREAS, after the Court issued the Successor Liability Order and after the

Bankruptcy Court entered the Dismissal Order, Plaintiffs continued to assert claims

against the Aearo Defendants;

      WHEREAS, on August 29, 2023, Negotiating Plaintiffs’ Counsel and

Defendants entered into a Master Settlement Agreement;

      WHEREAS, claims against the Aearo Defendants and Defendant 3M

Company have been settled pursuant to the Master Settlement Agreement terms and

procedures;

      WHEREAS, on March 20, 2024, the United States Court of Appeals for the

Eleventh Circuit issued an order granting the Parties’ joint request to hold in

abeyance the Petition for Permission to Appeal in 3M Company v. Christopher Aaby,

Appeal Number 23-90001-A;
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      WHEREAS, as of May 10, 2024, the Settlement Administrator calculated the

Participation Level under the Master Settlement Agreement at 99.68%, and

      WHEREAS, pursuant to the Parties’ joint request, the United States Court of

Appeals for the Eleventh Circuit has dismissed the Petition for Permission to Appeal

in 3M Company v. Christopher Aaby, et al., Appeal Number 23-90001-A.

      NOW, THEREFORE, in light of the foregoing, the Parties, through their

undersigned counsel, jointly request that the Court vacate its December 22, 2022

Successor Liability Order.

Dated: May 23, 2024

                                         Respectfully submitted,

/s/ Bryan F. Aylstock                     /s/ Charles F. Beall, Jr.
Bryan F. Aylstock                         Charles F. Beall, Jr.
Florida Bar No. 78263                     Florida Bar No. 66494
baylstock@awkolaw.com                     cbeall@mhw-law.com
Aylstock, Witkin, Kreis                   Moore, Hill & Westmoreland, P.A.
 & Overholtz, PLLC                        350 West Cedar Street
17 East Main Street, Suite 200            Maritime Place, Suite 100
Pensacola FL 32502                        Pensacola FL 32502
Telephone: (850) 202-1010                 Telephone: (850) 434-3541

Negotiating Plaintiffs’ Counsel           Counsel for Defendants
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY this 23rd day of May, 2024, a true and correct copy of

the foregoing was electronically filed via the Court’s CM/ECF system, which will

automatically serve notice of this filing via e-mail notification to all registered

counsel of record.

                                  /s/ Charles F. Beall, Jr.
                                  Charles F. Beall, Jr.
                                  Counsel for Defendant, 3M Company
